                                                                                 DISTRICT OF OREGON
                                                                                      FILED
                                                                                   September 14, 2022
                                                                               Clerk, U.S. Bankruptcy Court



  Below is an order of the court.




                                                               _______________________________________
                                                                         TERESA H. PEARSON
                                                                         U.S. Bankruptcy Judge




                          UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF OREGON
 In re                                                   Case No. 22-30228-thp11
                                                         ORDER ON DEBTOR’S MOTION FOR
 AAIM Care, LLC                                          DISMISSAL OF CHAPTER 11 CASE AND
                                                         CREDITOR DR. FRITZ’ CROSS-MOTION
                                                         FOR REMOVAL OF DEBTOR FROM
                                Debtor(s).               POSSESSION


               This matter came before the court on (i) Debtor’s Motion for Dismissal of
Chapter 11 Case (ECF 142), (ii) Creditor Stephen B. Fritz’ Objection to Motion for Voluntary
Dismissal of Case Under 11 U.S.C. § 1112(b)(1) and Cross-Motion for Removal of Debtor from
Possession (ECF 153), and (iii) Debtor’s Motion to Extend Deadline to Produce Documents
(ECF 157). The court held an evidentiary hearing on these motions on September 9, 2022, and
an additional non-evidentiary hearing on September 14, 2022.
               The court found that cause exists under 11 U.S.C. § 1112(b)(4)(E) and 11 U.S.C.
§ 1185(a) for the court to take action in this matter, based on the debtor’s continued failure to
comply with (i) the court’s Order Granting Motion for Order Authorizing Rule 2004
Examinations of Dr. Sanjeev Jain, Rajeev Jain and Chase Bank, N.A. and Production of
Documents (ECF 125), which required Debtor to produce certain documents in its possession or

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control, and (ii) the court’s Order Requiring Provision of Information to Patient Care
Ombudsman (ECF 138) (collectively, the “Production Orders”).
                 The court has considered all the potential options in this case available to redress
this cause, including but not limited to dismissal of the case, removal of the debtor from
possession, and conversion of the case to chapter 7. The court finds that dismissal of the case is
not in the best interests of creditors, because it would simply move these disputes to another
forum. The court further finds that debtor’s request for dismissal is not in good faith, as it was
made simply to avoid compliance with the Production Orders. The court finds that removal of
the debtor from possession and allowing the SubChapter V trustee to operate the business is not
in the best interests of creditors, given that the SubChapter V trustee does not have expertise in
running a medical business and cannot propose a plan. The court finds that appointment of a
chapter 11 trustee (if the case were removed from SubChapter V) is not economically feasible,
given the lack of resources to pay a chapter 11 trustee.
                 Now, therefore, based on the evidence and testimony presented, the arguments of
counsel, and the records and files of this case, the findings set forth above, and for the additional
reasons stated during the hearings, it is hereby
                 ORDERED that if the debtor does not comply with the Production Orders by
September 28, 2022, this case will be converted to chapter 7. The court will hold a further
hearing on September 29, 2022, at 10:30 a.m. by videoconference, to hear from the parties
regarding (i) whether the debtor complied with the Production Orders, and (ii) if not, the logistics
for prompt conversion of this debtor’s business to chapter 7 in an orderly manner.
                 IT IS FURTHER ORDERED that the debtor’s Motion to Extend Deadline to
Produce Documents is denied. The motion was filed after the deadlines for production of
documents, and the debtor has failed to show excusable neglect as required by Fed. R. Bankr.
P. 9006(b)(1).
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